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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                         Plaintiffs,

          vs.                                               No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.


                     DEFENDANT GOOGLE LLC’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C) and the Modified Protective Order, Defendant Google

  LLC (“Google”), through its undersigned counsel, hereby respectfully moves this Court for an

  order granting Google’s motion to seal. Google seeks leave to file certain sealed exhibits to the

  Declaration of Bryon Becker in Support of Google LLC’s Motion for Summary Judgment and

  Motions to Exclude, and redacted versions of Memorandum of Law in Support of Google LLC’s

  Motion for Summary Judgment, Memorandum of Law in Support of Google LLC’s Motion to

  Exclude the Testimony of Prof. Robin S. Lee, Memorandum of Law in Support of Google LLC’s

  Motion to Exclude the Testimony of Adoria Lim, and Memorandum of Law in Support of Google

  LLC’s Motion to Exclude the Testimony of Dr. Timothy Simcoe. Consistent with the local rule

  and this Court’s Electronic Case Filing Policies and Procedures, undersigned counsel have filed

  the materials at issue using the sealed filing event on CM/ECF and hereby certify that they will

  serve a copy on opposing counsel and deliver a copy to this Court in a separate container labeled

  “UNDER SEAL.” The grounds for this motion are contained in the memorandum of law

  concurrently filed in support of this motion. A proposed order is attached for the Court’s

  convenience.


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   Dated: April 26, 2024              Respectfully submitted,

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